Case 5:23-cr-50086-KES       Document 20   Filed 08/04/23   Page 1 of 2 PageID #: 44




                           UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION



 UNITED STATES OF AMERICA,                        5:23-CR-50086-01-KES

              Plaintiff,
                                            ORDER ADOPTING AS MODIFIED
     vs.                                     REPORT & RECOMMENDATION

 EDWIN BLAINE GRASS, SR.,

              Defendant.


       On August 4, 2023, defendant, Edwin Blaine Grass, Sr., appeared before

Magistrate Judge Daneta Wollmann for a change of plea hearing. Magistrate

Judge Wollmann issued a report recommending the court accept defendant’s

plea of guilty the Indictment. The Indictment charges him with Failure to

Register in violation of 18 U.S.C. § 2250(a). The parties waived any objection to

the report and recommendation. Although not explicitly mentioned in the

Report and Recommendation, as part of the plea, the parties agreed that the

Government would dismiss defendant’s case in 5:23-CR-50032 upon

imposition of the sentence. Docket 13 ¶ C. Upon review of the record in this

case, it is

       ORDERED that the report and recommendation (Docket 19) is adopted

as modified to reflect the parties’ agreement that the Government will dismiss

defendant’s case in 5:23-CR-50032 upon imposition of sentence in this case.
Case 5:23-cr-50086-KES    Document 20       Filed 08/04/23   Page 2 of 2 PageID #: 45




The defendant is adjudged guilty of Failure to Register in violation of 18 U.S.C.

§ 2250(a).

      It is FURTHER ORDERED that the sentencing hearing in this matter will

be held on October 24, 2023 at 10:30 a.m. in Rapid City Courtroom 2.

      Dated August 4, 2023.

                               BY THE COURT:

                               /s/ Karen E. Schreier
                               KAREN E. SCHREIER
                               UNITED STATES DISTRICT JUDGE




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